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                       IN THE UNITED STATES DISTRICT COURT
                  NORTHERN DISTRICT OF ILLINOIS-EASTERN DIVISION

DRAFT TOP, LLC,                                       )
                                                      )
                                                      )
                       Plaintiff,                     )
                                                      )        No. 21-cv-3792
                                                      )
v.                                                    )
                                                      )
                                                      )      Hon. Matthew Kennelly
THE PARTNERSHIPS AND                                  )      Magistrate Judge Sheila Finnegan
UNINCORPORATED ASSOCIATIONS                           )
IDENTIFIED IN SCHEDULE “A”,                           )
                                                      )
                                                      )
                       Defendants.                    )

                           PLAINTIFF’S NOTICE OF DISMISSAL
                               OF CERTAIN DEFENDANTS

        Plaintiff Draft Top, LLC, pursuant to Rule 41(a)(1) of the Federal Rules of Civil Procedure,

hereby dismisses all causes of action against the following defendants: minseaa (573) The E

Shopping (745) (collectively, “Settling Defendants”), with prejudice. Draft Top, LLC is dismissing

Settling Defendants because it has reached a full settlement with them, the terms of which have

been satisfied.

        Settling Defendants have filed neither an answer to the complaint nor a motion for

summary judgment as to these claims. Dismissal under Rule 41(a)(1) is therefore appropriate.




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                                     Respectfully submitted,

DATED: July 6, 2022                  DRAFT TOP, LLC.

                                     By: /s/ James E. Judge

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